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 7
                        UNITED STATES DISTRICT COURT
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                      CENTRAL DISTRICT OF CALIFORNIA
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11 TNG WORLDWIDE, INC., a Michigan                   Case No. 2:20-cv-10501-DSF (Ex)
   Corporation,                                      ORDER RE JOINT STIPULATION
12
                                                     OF DISMISSAL WITHOUT
13              Plaintiff,                           PREJUDICE
14        v.
                                                     Complaint Filed: November 17, 2020
15 LYNGUYEN CORPORATION, a California
   Corporation
16 d/b/a BEAUTYLAND4U
17
               Defendant.
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                                                 1                      Case No. 2:20-cv-10501-DSF (Ex)
                      ORDER RE JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
Case 2:20-cv-10501-DSF-E Document 12 Filed 01/12/21 Page 2 of 2 Page ID #:53




 1        Pursuant to the Joint Stipulation of Dismissal Without Prejudice and Federal
 2 Rule of Civil Procedure Rule 41, the Court hereby orders that the above-captioned
 3 matter is dismissed without prejudice. Each party shall bear its own respective fees
 4 and costs.
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 6        IT IS SO ORDERED.
 7   DATED: January 12, 2021
 8
                                              Honorable Dale S. Fischer
 9                                            UNITED STATES DISTRICT JUDGE
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                                                  2                      Case No. 2:20-cv-10501-DSF (Ex)
                       ORDER RE JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
